  Case 2:25-cv-00197-JCZ-DPC           Document 112-2   Filed 03/28/25     Page 1 of 5




               UNITED STATES DISTRICT COURT
                                         for the
                               Eastern District of Louisiana




                                            )
HIRAN RODRIGUEZ
_____________________________________ )
                Plaintiff(s)
                                                  CIVIL ACTION NO. 2:25-CV-00197
                                                  SECTION: “A” (2)


                   v.                             JUDGE JAY C. ZAINEY

                                            )     MAG. JUDGE DONNA PHILLIPS CURRAULT

                                            )

META PLATFORMS, INC., ET AL,
_________________________________________ )

              Defendant(s)
                                            )




                  [PROPOSED] ORDER FOR ENTRY OF DEFAULT
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Considering Plaintiff’s Request for Entry of Default (Rec. Doc. ___) against Defendant Mark

Elliot Zuckerberg, and finding that:


• Defendant was personally served on March 6, 2025;


• No responsive pleading or motion has been filed as of March 27, 2025;


• No valid motion for extension was granted;




IT IS ORDERED that the Clerk of Court shall enter default against Mark Elliot Zuckerberg

pursuant to Federal Rule of Civil Procedure 55(a).




New Orleans, Louisiana, this ____ day of __________, 2025.


                      __________________________________________


                                       DEPUTY CLERK


           U.S. DISTRICT COURT — EASTERN DISTRICT OF LOUISIANA




                                                                                              2
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                                CERTIFICATE OF SERVICE



I, Hiran Rodriguez, Plaintiff pro se, hereby certify that on March 28, 2025, I electronically

submitted the following documents through the Electronic Document Submission System

(EDSS) of the United States District Court for the Eastern District of Louisiana:


• Request for Entry of Default Against Defendant Mark Elliot Zuckerberg


• Memorandum in Support of Entry of Default


• Proposed Order for Entry of Default


• This Certificate of Service




Pursuant to Local Rule 5.4 and the Federal Rules of Civil Procedure, notice of this filing will

be electronically served via CM/ECF to all counsel of record who have made an appearance in

this case.



For any defendants who have not yet entered an appearance, I further certify that they are in the

process of being served by the United States Marshal Service in accordance with Federal Rule

of Civil Procedure 4(c)(3).




Respectfully submitted,



                                                                                                    3
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/s/ Hiran Rodriguez



Hiran Rodriguez



Pro Se Plaintiff



820 Grove Ave



Metairie, LA 70003



(504) 203-8459



hiranrodriguez@outlook.com



Dated: March 28, 2025




                                                                                4
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eFile-ProSe

From:                           Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                           Friday, March 28, 2025 12:29 AM
To:'.                           eFile-ProSe

Subject:                        New EDSS Filing Submitted
Attachments:                    Proposed Order.pdf




GVeetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Friday, Mareh '28, 2025   -




00:28.-    •'

The information for this submission is;


Filer’s Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address:;820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459


Filer's Case Number (If Known): 2:25-CV-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Proposed Order for Entry of Default for Request for Entry of Default
Against Defendant Mark Elliot Zuckerberg




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